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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN
LAURA L. ROZUMALSKI,

               Plaintiff,
       v.                                            Case No: 17-CV-523
W.F. BAIRD & ASSOCIATES LTD.,

               Defendant.

    DEFENDANT W.F. BAIRD & ASSOCIATES LTD.’S ANSWER AND
            AFFIRMATIVE AND OTHER DEFENSES


       Defendant, W.F. Baird & Associates Ltd. (“Baird”), for its Answer and

Affirmative and Other Defenses to the Complaint filed by Plaintiff, Laura L. Rozumalski

(“Plaintiff”), states as follows:

                                    GENERAL DENIAL

       Baird denies that it has violated Title VII of the Civil Rights Act of 1964, as

amended (“Title VII”). Baird further denies that Plaintiff is entitled to any of the relief

requested in her Complaint.

                               NATURE OF THE ACTION

       1.      The allegations of Paragraph 1 summarize the federal statute under which

Plaintiff’s claims asserted in the Complaint arise. The Complaint is in writing and speaks

for itself. Baird denies that it has violated Title VII and denies all allegations of

discrimination and retaliation set forth in Paragraph 1.

       2.      Paragraph 2 is a jury demand and does not require a response.
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                              JURISDICTION AND VENUE

       3.      The allegations of Paragraph 3 are legal conclusions to which Baird is not

required to respond. To the extent that any response is required, Baird does not challenge

Plaintiff’s assertion of subject-matter jurisdiction at this time.

       4.      The allegations of Paragraph 4 are legal conclusions to which Baird is not

required to respond. To the extent that any response is required, Baird admits that it has

contacts with the Western District of Wisconsin and conducts business in the Western

District of Wisconsin. Baird does not contest venue and does not contest personal

jurisdiction. Baird denies all of the remaining allegations made and contained in

Paragraph 4.

                                          PARTIES

       5.      Baird is without knowledge or information sufficient to admit or deny the

allegations made and contained in Paragraph 5, and therefore denies the same.

       6.      Baird admits the allegations made and contained in Paragraph 6.

                               FACTUAL ALLEGATIONS

       7.      Baird admits the allegations made and contained in the first sentence of

Paragraph 7. The second sentence of Paragraph 7 contains a legal conclusion to which

Baird is not required to respond. To the extent a response is necessary, Baird admits that

Plaintiff was previously employed by Baird.

       8.      Baird admits the allegation made and contained in the first sentence of

Paragraph 8. The second sentence of Paragraph 8 contains a legal conclusion to which




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Baird is not required to respond. To the extent a response is necessary, Baird admits that

it previously employed Plaintiff.

        9.    Baird admits the allegations made and contained in Paragraph 9.

        10.   Baird admits the allegations made and contained in the first sentence of

Paragraph 10. Baird admits the allegations made and contained in the second sentence of

Paragraph 10. Baird admits the allegations made and contained in the third sentence of

Paragraph 10. Baird admits the allegation made and contained in the fourth sentence of

Paragraph 10 that the EEOC Charge Number is 26G-2015-00622. Baird is without

knowledge or information sufficient to admit or deny the remainder of the allegations

made and contained in the fourth sentence of Paragraph 10, and therefore denies the

same.

        11.   Baird is without information sufficient to admit or deny the allegations

made and contained in the first sentence of Paragraph 11, and therefore denies the same.

Marten admits that Plaintiff attached a document purporting to be a “Notice of Right to

Sue” to her Complaint as Exhibit A, which is a writing that speaks for itself.

        12.   Baird admits the allegations made and contained in Paragraph 12.

        13.   Baird admits the allegations made and contained in Paragraph 13.

        14.   Baird denies the allegations made and contained in Paragraph 14.

        15.   The allegations made and contained in Paragraph 15 are a legal conclusion

to which Baird is not required to respond. To the extent a response is necessary, Baird

denies that Plaintiff was sexually assaulted by Mark Riedel. Baird affirmatively states




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that Baird thoroughly investigated and resolved to Plaintiff’s satisfaction a harassment

incident involving Plaintiff and Mark Riedel.

      16.    Baird denies the allegations made and contained in Paragraph 16.

      17.    Baird denies the allegations made and contained in the first sentence of

Paragraph 17. Baird admits that a document appended to Plaintiff’s November 21, 2012,

performance review included the quoted statements contained in the second sentence of

Paragraph 17.

      18.    Baird denies the allegations made and contained in Paragraph 18.

      19.    Baird only admits the allegation made and contained in Paragraph 19 that

Baird terminated Mark Riedel. Baird denies the remaining allegations made and

contained in Paragraph 19.

      20.    Baird denies the allegations made and contained in Paragraph 20.

      21.    Baird denies the allegations made and contained in Paragraph 21.

      22.    Baird admits the allegations made and contained in Paragraph 22 that Alex

Brunton was appointed Plaintiff’s supervisor in 2013 and that he worked primarily out of

Baird’s Oakville, Canada office. Baird is without knowledge or information sufficient to

admit or deny the existence or state of Mr. Brunton’s purported friendship with Mr.

Riedel.

      23.    Baird denies the allegations made and contained in Paragraph 23 except to

admit that in 2013, Plaintiff was given more responsibility to lead the Rivers and

Watershed Core Service business development in the United States.




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      24.    Baird admits the allegations made and contained in the first sentence of

Paragraph 24. Baird denies the allegations made and contained in the second sentence of

Paragraph 24.

      25.    The allegations made and contained in Paragraph 25 are a legal conclusion

to which Baird is not required to respond. To the extent a response is necessary, Baird

denies the allegations made and contained in Paragraph 25.

      26.    Baird denies the allegations made and contained in Paragraph 26, with the

exception that Baird admits that Mr. Brunton did provide negative feedback to Plaintiff

regarding her work performance.

      27.    Baird denies the allegations made and contained in Paragraph 27.

      28.    Baird denies the allegations made and contained in Paragraph 28.

      29.    Baird admits the allegations made and contained in Paragraph 29.

      30.    The allegation made and contained in Paragraph 30 is a legal conclusion to

which Baird is not required to respond. To the extent a response is necessary, Baird

denies that it took any retaliatory action against Plaintiff. Baird admits the allegation

made and contained in Paragraph 30 that Baird placed Plaintiff on an Employee

Improvement Plan due to her poor performance issues.

      31.    Baird denies the allegations made and contained in Paragraph 31.

      32.    Baird denies the allegations made and contained in Paragraph 32.

      33.    Baird denies the allegations made and contained in Paragraph 33.

      34.    Baird denies the allegations made and contained in Paragraph 34.

      35.    Baird denies the allegations made and contained in Paragraph 35.


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       36.    Baird only admits the allegation made and contained in Paragraph 36 that

Baird terminated Plaintiff’s employment. Baird denies the remainder of the allegations

made and contained in Paragraph 36.           Baird affirmatively states that it terminated

Plaintiff on or about June 25, 2014 for legitimate business reasons that were neither

discriminatory nor retaliatory.

       37.    Baird denies the allegations and the characterization of Plaintiff’s

termination made and contained in Paragraph 37.

       38.    Baird denies the allegations made and contained in Paragraph 38.

       39.    Baird denies the allegations made and contained in Paragraph 39.

       40.    The allegation made and contained in Paragraph 40 is a legal conclusion to

which Baird is not required to respond. To the extent a response is necessary, Baird

denies the allegations made and contained in Paragraph 40.

       41.    Baird denies the allegations made and contained in Paragraph 41.

       42.    Baird denies the allegations made and contained in Paragraph 42.

                      AFFIRMATIVE AND OTHER DEFENSES

       1.     Plaintiff fails, in whole or in part, to state a claim upon which relief can be

granted.

       2.     Baird acted reasonably and in good faith with respect to Plaintiff at all

times pertinent to her former employment with Defendant.

       3.     All actions taken by Baird with regard to Plaintiff were taken in good faith

and for legitimate non-discriminatory or non-retaliatory reasons.




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       4.     All actions taken by Baird with regarding to Plaintiff were taken based on

reasonable factors other than her sex.

       5.     Plaintiff’s claims for damages under federal law are subject to the

limitations set forth by 42 U.S.C. § 1981a(b)(3).

       6.     Plaintiff’s claims and/or damages are barred and/or limited by the after-

acquired evidence doctrine.

       7.     Baird has at all times pertinent to Plaintiff’s claims adopted appropriate

policies and made good faith efforts to comply with applicable federal and state anti-

discrimination laws. Some or all of Plaintiff’s claims and request for damages are barred

because even if any unlawful discrimination occurred (which Baird expressly denies),

such conduct was and is prohibited by Baird’s policies and was not committed or

authorized by it. Baird never authorized, ratified, or participated in any discriminatory or

retaliatory conduct regarding Plaintiff.

       8.     To the extent that it might be determined that Plaintiff was subject to

discriminatory or retaliatory employment decisions by one or more of Baird’s managerial

agents (which Baird expressly denies), any such decisions were contrary to its good faith

efforts to comply with federal and state law, including Title VII of the Civil Rights Act of

1964, and were not committed or authorized by Baird.

       9.     Plaintiff failed to mitigate or reasonably attempt to mitigate her damages, if

any, as required by law.

       10.    By her own conduct, Plaintiff is estopped from contending that Baird’s

decisions relating to her employment were discriminatory or retaliatory.


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       11.    Plaintiff’s claim and request for damages are barred because Plaintiff was

not meeting the employer’s legitimate expectations.

       12.    Plaintiff’s claim and request for damages are barred because Baird

thoroughly investigated and resolved to Plaintiff’s satisfaction a harassment incident

involving Plaintiff and Mark Riedel.

       13.    To the extent Plaintiff suffered any damages or losses, such damages or

losses were caused in whole or in part by Plaintiff’s own conduct, acts, or omissions.

       14.    Baird relief on all proper defenses lawfully available that may be disclosed

by the evidence in the instant case and reserved the right to amend this pleading to state

such other affirmative and additional defenses and/or to otherwise supplement this

pleading upon discovery of facts or evidence rendering such action appropriate.

       WHEREFORE, Defendant, W.F. Baird & Associates Ltd., respectfully requests

that the Court enter judgment in its favor and against Plaintiff, along with the costs of this

action, attorneys’ fees as allowable by law, and for such other relief as the Court deems

just and proper.

       Dated this 8th day of September, 2017.

                                    DEWITT ROSS & STEVENS S.C.

                                    By:      /s/ Jordan Rohlfing
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